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            1                                    UNITED STATES DISTRICT COURT
            2                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
            3                                           OAKLAND DIVISION
            4    EPIC GAMES, INC.,                                  Case No. 4:20-cv-05640-YGR
                                                                    Case No. 4:11-cv-06714-YGR
            5                Plaintiff, Counter-defendant           Case No. 4:19-cv-03074-YGR
                 v.
            6                                                       [PROPOSED] ORDER RE: MOTION TO
                 APPLE INC.,                                        SEAL
            7                Defendant, Counter-claimant
            8    IN RE APPLE IPHONE ANTITRUST
                 LITIGATION
            9

           10    DONALD R. CAMERON, et al.,                         Hon. Thomas S. Hixson
           11                Plaintiffs
                      v.
           12
                 APPLE INC.,
           13
                                 Defendant.
           14

           15
                         Plaintiff’s January 29, 2021 motion to seal is granted. The following documents will be
           16
                 partially or entirely sealed:
           17

           18
                                     Document                                     Redacted Material
           19
                  Exhibit 1 to Joint Discovery Letter Brief        Page 7, lines 18–20
           20     Regarding Epic’s Outstanding Document
                  Requests
           21
                  Exhibit 4 to Joint Discovery Letter Brief        Highlighted material on page 4
           22
                  Regarding Epic’s Outstanding Document
           23     Requests

           24     Exhibit 5 to Joint Discovery Letter Brief        Page 13, lines 6–8, 21–22
                  Regarding Epic’s Outstanding Document
           25     Requests
           26

           27
                 Dated: ____________, 2021
           28

Gibson, Dunn &
Crutcher LLP
                 Case 4:20-cv-05640-YGR Document 311-1 Filed 02/02/21 Page 2 of 2


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                                                THOMAS S. HIXSON
            2                                   United States Magistrate Judge
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Gibson, Dunn &
Crutcher LLP                                        2
